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                                IN THE UNITED STATES DISTRICT COURT FOR THE
                                               WESTERN DISTRICT OF MISSOURI
                                                    WESTERN DIVISION

UNITED STATES OF AMERICA

-vs-                                                                        Case No.: 08-00297-14-CR-W-FJG

GERALD D. WILLIAMS

                                                                            USM Number: 21210-045

                                                                            Mark A. Thornhill, CJA
                                                                            1000 Walnut St, Suite 1400
                                                                            Kansas City, MO 64106
___________________________________

                                                JUDGMENT IN A CRIMINAL CASE


The defendant pleaded guilty to Count 1 on 06/30/09 of the Indictment. Accordingly, the court has adjudicated that the
defendant is guilty of the following offense(s):

                                                                                                Date Offense          Count
       Title & Section                                  Nature of Offense                        Concluded          Number(s)

 18 U.S.C. 371                   Conspiracy to Commit Wire Fraud and Obtaining                  May 21, 2007                1
                                 Funds by Fraud

The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

Count 7 is dismissed on the motion of the United States.

IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                                            Date of Imposition of Sentence: July 23, 2010




                                                                                                /s/ Fernando J. Gaitan, Jr.
                                                                                                  FERNANDO J. GAITAN, JR.
                                                                                        CHIEF UNITED STATES DISTRICT JUDGE

                                                                                                           August 3, 2010




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                                                          PROBATION

The defendant is hereby placed on probation for a term of 5 Years.

While on probation, the defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
controlled substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two
periodic drug tests thereafter, as determined by the court.

          The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low
risk of future substance abuse.

         The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

         The defendant shall cooperate in the collection of DNA as directed by the probation officer.

       If this judgment imposes a fine or restitution, it is a condition of supervision that the defendant pay in accordance with
the Schedule of Payments sheet of this judgment.

        The defendant must comply with the standard conditions that have been adopted by this court as well as with any
additional conditions on the attached page.

                                      STANDARD CONDITIONS OF SUPERVISION

1.       The defendant shall not leave the judicial district without the permission of the court or probation officer;

2.       The defendant shall report to the probation officer and shall submit a truthful and complete written report within the
         first five days of each month;

3.       The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
         officer;

4.       The defendant shall support his or her dependents and meet other family responsibilities;

5.       The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling,
         training, or other acceptable reasons;

6.       The defendant shall notify the probation officer at least ten (10) days prior to any change in residence or employment;

7.       The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or
         administer any controlled substance or any paraphernalia related to any controlled substances, except as prescribed
         by a physician;

8.       The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
         administered;

9.       The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any
         person convicted of a felony, unless granted permission to do so by the probation officer;

10.      The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
         confiscation of any contraband observed in plain view by the probation officer;

11.      The defendant shall notify the probation officer within seventy-two (72) hours of being arrested or questioned by a
         law enforcement officer;



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12.      The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
         without the permission of the court;

13.      As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
         defendant’s criminal record or personal history or characteristics, and shall permit the probation officer to make such
         notifications and to confirm the defendant’s compliance with such notification requirement.



                                      ADDITIONAL CONDITIONS OF PROBATION

         The defendant shall also comply with the following additional conditions of probation:

1.       The defendant shall make every effort to pay any restitution balance during the first 36 months of probation on the
         schedule set by the Court.

2.       The defendant shall satisfy all warrants and/or pending charges within the first 60 days of probation.

3.       The defendant shall submit his person, residence, office or vehicle to a search, conducted by a U.S. Probation Officer
         at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband or evidence of a
         violation of a condition of probation; failure to submit to a search may be grounds for revocation; the defendant shall
         warn any other residents that the premises may be subject to searches pursuant to this condition.

4.       The defendant shall not incur new credit card charges or open additional lines of credit without the approval of the
         Probation Office, while court-ordered financial obligations are still outstanding.

5.       The defendant shall provide the Probation Officer access to any requested financial information.

6.       The defendant shall perform 2000 hours of community service.

7.       The defendant shall participate in the Home Detention program for 6 Months which may include electronic monitoring,
         with costs to be paid as directed by the Probation Office.

8.       Defendant shall not engage in any real estate transaction without the approval of the Probation Office.



                                      ACKNOWLEDGMENT OF CONDITIONS

        I have read or have had read to me the conditions of supervision set forth in this judgment and I fully understand them.
I have been provided a copy of them.

        I understand that upon finding of a violation of probation or supervised release, the Court may (1) revoke supervision,
(2) extend the term of supervision, and/or (3) modify the conditions of supervision.

_______________________________________                   ____________________
Defendant                                                 Date

________________________________________                  ____________________
United States Probation Officer                            Date




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                                                CRIMINAL MONETARY PENALTIES

       The defendant must pay the total criminal monetary penalties under the schedule of payments set forth in the Schedule
of Payments.
             Total Assessment                                         Total Fine                                     Total Restitution

                    $100.00                                             Waived                                           $238,008.17

          The defendant shall make restitution (including community restitution) to the following payees in the amount listed
below.

        If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(I), all
nonfederal victims must be paid in full prior to the United States receiving payment.

         You are hereby ordered to begin payment immediately and continue to make payments to the best of your ability until
this obligation is satisfied. While in custody you are directed to participate in the Bureau of Prisons Financial Responsibility
Program, if eligible, and upon your release from custody you shall adhere to a payment schedule as determined by the
Probation Office.
         Name of Payee                             Total Loss                      Restitution Ordered                         Priority or
                                                                                                                               Percentage

 Chase Home Finance, LLC                          $155,936.28                           $155,936.28

  Carrington Mortgage                       $82,071.89                      $82,071.89
  Services
         The defendant shall pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is paid in
full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the
Schedule of Payments may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

          The Court has determined that the defendant does not have the ability to pay interest, and it is ordered that:
                 The interest requirement is waived for the restitution.

          Since the Court finds that the defendant does not have the ability to pay a fine, the fine is waived.



Note: Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United States Code, for offenses committed
on or after September 13, 1994 but before April 23, 1996.




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                                                   SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

         Lump sum payment of $238,108.17 due immediately, balance due in accordance with F below.

         F.        Special instructions regarding the payment of criminal monetary penalties:

         If unable to pay the full amount of restitution immediately, defendant shall make monthly payments of either
         $250 or 10 percent of gross household income, whichever is greater, while on supervision to commence in
         30 days.

         Restitution shall be paid to the victims in amounts identified in the presentence report. The defendant may receive
         credit against the restitution balance for uncredited payments made on the original loans prior to foreclosure. He may
         also receive credit for any uncredited recovery that is subsequently received by the mortgage note holder.



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



         Joint and Several

       Payments should be made jointly and severally with Judith E. Williams and the codefendants in Case No. 08-00297-
01/17-CR-W-FJG associated with the properties involving the defendant.




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